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 6
 7                             UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
10   Antonio Fernandez,                            ) Case No.: 2:20-cv-05459-JWH-ADS
                                                   )
11           Plaintiff,                            )
                                                   ) Notice of Indication of Mootness
12     v.                                          )
     Ralphs Grocery Company, an Ohio               )
13   Corporation; and Does 1-10,                   )
                                                   )
14           Defendants.                           )
                                                   )
15                                                 )
                                                   )
16                                                 )
                                                   )
17                                                 )
                                                   )
18
19   TO THE COURT, ALL PARTIES, HEREIN:
20
21          On July 7, 2020, the court declined to exercise supplemental jurisdiction over
22   Plaintiff’s Unruh Act claim. (Dkt. 12). This limited Plaintiff’s remedies to solely injunc-
23   tive relief. Wander v. Kaus, 304 F.3d 856, 858 (9th Cir. 2002); 42 U.S.C. §12188(a)(1).
24   However, Defendants have presented evidence that the alleged barriers have been re-
25   moved at the subject property. Plaintiff must face a “real and immediate threat of re-
26   peated injury” to establish standing for injunctive relief. Chapman v. Pier 1 Imports (U.S.)

27   Inc., 631 F.3d 939, 946 (9th Cir. 2011). Thus, the removal of the alleged barriers ren-

28   ders Plaintiff’s claim for injunctive relief moot.


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 1   Dated: December 21, 2020            CENTER FOR DISABILITY ACCESS
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 3                                       By: /s/ Isabel Rose Masanque
 4                                             Isabel Rose Masanque
                                               Attorney for Plaintiff
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